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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          9   WAYMO LLC,                                                  No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                         12                                                               NOTICE AND ORDER RE
                               For the Northern District of California




                                                                              UBER TECHNOLOGIES, INC.;                                    SPECIAL MASTER’S REPORT
                                                                         13   OTTOMOTTO LLC; and OTTO                                     AND RECOMMENDATION
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                              /

                                                                         16          A prior order required any objection to or motion regarding the special master’s report
                                                                         17   and recommendation to be filed by December 22 at noon (Dkt. No. 2402). On December 21,
                                                                         18   Waymo filed what appeared to be a “reply” brief directed to the special master (Dkt. No. 2426).
                                                                         19   On December 22, defendants filed a “response” that superficially disagreed with the special
                                                                         20   master’s conclusion but primarily expressed defendants’ view that we should turn to other
                                                                         21   issues (Dkt. No. 2435). As the Court understands these submissions, neither is an objection to
                                                                         22   or motion regarding the special master’s report and recommendation. If either side believes
                                                                         23   otherwise, they should notify the Court immediately. Otherwise, the Court has reviewed and
                                                                         24   intends to accept and rely on the special master’s conclusion in evaluating the forthcoming
                                                                         25   briefs due in January 2018.
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                                                                         27          IT IS SO ORDERED.
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                                                                              Dated: December 29, 2017.
                                                                                                                                      WILLIAM ALSUP
                                                                                                                                      UNITED STATES DISTRICT JUDGE
